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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                       Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to the Cases          Judge M. Casey Rodgers
Identified on Exhibits A, B, and C          Magistrate Judge Hope T. Cannon


                                     ORDER

      On November 30, 2023, the Court entered an Order directing Primary Counsel

to provide the Settlement Data Administrator with specified information for all

Eligible Claimants with derivative loss of consortium (“LOC”) claims pending on

that date. See CMO 77 (LOC Claim Identification), ECF No. 3951. Primary

Counsel were advised that derivative LOC claims not timely identified pursuant to

CMO 77 would be dismissed with prejudice.

      The LOC claim identification process has now concluded.          Exhibit A

identifies Eligible Claimants with LOC claims that will continue alongside the

Claimants’ injury claims. Exhibit B identifies Eligible Claimants with LOC claims

that will not be further pursued and have already been dismissed. Exhibit C

identifies Eligible Claimants with LOC claims whose Primary Counsel either did not

respond to CMO 77 or advised the Settlement Data Administrator that the LOC

claims would not be further pursued but did not provide confirmation that the LOC
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claims had been dismissed with prejudice in accordance with CMO 77. Consistent

with CMO 77, it is ORDERED that:

      1.     The loss of consortium claims for the Eligible Claimants identified on
             Exhibit C are hereby DISMISSED WITH PREJUDICE. The Clerk
             is directed to update the dockets for those Eligible Claimants
             accordingly.

      2.     Given the impending registration deadlines, the Settlement
             Administrator is directed to immediately update the Registration Forms
             for the Eligible Claimants on Exhibits A, B, and C to reflect the current
             status of their loss of consortium claims, and then release the
             Registration Forms to the respective Primary Counsel for the law firm
             review process.1

      3.     The Clerk is directed to enter this Order on the MDL docket and on the
             individual dockets for the Eligible Claimants identified on Exhibits A,
             B, and C.

      SO ORDERED, on this 14th day of December, 2023.


                                  M. Casey Rodgers
                                  M. CASEY RODGERS
                                  UNITED STATES DISTRICT JUDGE




      1
         As emphasized in Case Management Order No. 79, the MSA I Primary Counsel Review
Deadline is December 20, 2023. See ECF No. 3967. This deadline will not be extended, given
that Primary Counsel should be aware of their own clients’ claims.
